Case 1:19-cv-23993-RNS Document 1 Entered on FLSD Docket 09/26/2019 Page 1 of 13



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION
                                         CASE NO.:

  NANCY ANDREUS
  and other similarly-situated individuals,

          Plaintiff(s),
  v.

  GLOBAL RESORTS GROUP, CORP.
  d/b/a/ EL PARAISO MOTEL

        Defendant,
  ________________________________/

                                        COMPLAINT
                            (OPT-IN PURSUANT TO 29 U.S.C § 216(b))

          COMES NOW the Plaintiff NANCY ANDREUS, and other similarly situated individuals,

  by and through the undersigned counsel, and hereby sues Defendant GLOBAL RESORTS

  GROUP, CORP. d/b/a EL PARAISO MOTEL and alleges:

                             JURISDICTION VENUES AND PARTIES

       1. This is an action to recover money damages for unpaid regular and overtime wages under

          the laws of the United States. This Court has jurisdiction pursuant to the Fair Labor

          Standards Act, 29 U.S.C. § 201-219 (Section 216 for jurisdictional placement) (“the Act”).

       2. Plaintiff NANCY ANDREUS is a resident of Miami-Dade County, within the jurisdiction

          of this Court. Plaintiff is a covered employee for purposes of the Act.

       3. Defendant GLOBAL RESORTS GROUP, CORP.                      d/b/a EL PARAISO MOTEL

          (hereinafter EL PARAISO MOTEL, or Defendant) is a Florida corporation, having a place

          of business in Miami-Dade County, Florida, where Plaintiff worked for Defendant. at all

          times material hereto, Defendant was engaged in interstate commerce.



                                              Page 1 of 13
Case 1:19-cv-23993-RNS Document 1 Entered on FLSD Docket 09/26/2019 Page 2 of 13



     4. All the actions raised in this complaint took place in Dade County Florida, within the

        jurisdiction of this Court.

                                      GENERAL ALLEGATIONS

     5. This cause of action is brought by Plaintiff NANCY ANDREUS to recover from Defendant

        regular hours, overtime compensation, liquidated damages, and the costs and reasonable

        attorney’s fees under the provisions of Fair Labor Standards Act, as amended, 29 U.S.C. §

        201 et seq (the “FLA or the “ACT”).

     6. Defendant GLOBAL RESORTS GROUP, CORP. is a Florida business that provides

        motel/hospitality services. Defendant operates under the name of EL PARAISO MOTEL

        located at 1615 W. Okeechobee Road, Hialeah, Florida 33010, where Plaintiff worked.

     7. Defendant EL PARAISO MOTEL employed Plaintiff NANCY ANDREUS as a non-

        exempt, hourly, full-time housekeeper from approximately January 01, 2018 to August 9,

        2019, or 83 weeks.

     8. Plaintiff was paid $9.00 an hour, and her overtime rate should be $13.50 an hour.

     9. During her time of employment with Defendant, Plaintiff and other similarly situated

        individuals maintained an irregular schedule. Plaintiff had 2 days off, but she worked 5

        days per week. Plaintiff’s schedule changed constantly, and she worked day and overnight

        shifts.

     10. Supervisor Dulce Perez provided Plaintiff and other similarly situated individuals’

        schedules showing a fictitious time to clock out. Plaintiff and other similarly situated

        employees were required to stay working more hours.




                                           Page 2 of 13
Case 1:19-cv-23993-RNS Document 1 Entered on FLSD Docket 09/26/2019 Page 3 of 13



     11. Most of the time the Plaintiff worked the shift from 9:00 PM to 9:00 AM, (12 hours)

        regardless the shift worked and the scheduled working hours, Plaintiff always worked an

        average of 12 hours daily. Every week, Plaintiff completed a minimum of 60 hours weekly.

        Plaintiff was unable to take bonafide lunch breaks.

     12. Plaintiff worked in excess of 40 hours weekly, nevertheless in many weeks she was paid

        for less than 40 hours. In addition, Plaintiff was not paid for overtime hours.

     13. Plaintiff and other similarly situated individuals were not allowed to clock in and out, and

        their timecards were punched in and out by Supervisor Dulce Perez or any other front desk

        employee. Plaintiff never had access to see the total number of hours worked in a week

        period.

     14. Therefore, Defendant willfully failed to pay Plaintiff for overtime hours at the rate of time

        and one-half her regular rate for every hour that she worked in excess of forty (40), in

        violation of Section 7 (a) of the Fair Labor Standards Act of 1938 (29 U.S.C. 207(a)(1).

     15. Plaintiff was paid bi-weekly by direct deposits. Plaintiff was provided with paystubs that

        did not show the real number of hours worked.

     16. On or about August 9, 2019, Defendant unfairly fired Plaintiff using a pretextual reason.

     17. Plaintiff is not in possession of time and payment records, but she will provide a good faith

        estimated based on the real number of overtime hours worked.

     18. Plaintiff NANCY ANDREUS seeks to recover regular wages and overtime wages at the

        rate of time and a half her regular rate, for every hour in excess of 40 that she worked,

        liquidated damages, and any other relief as allowable by law.

     19. The additional persons who may become Plaintiffs in this action are employees and/or

        former employees of Defendant who are and who were subject to the unlawful payroll



                                             Page 3 of 13
Case 1:19-cv-23993-RNS Document 1 Entered on FLSD Docket 09/26/2019 Page 4 of 13



        practices and procedures of Defendant and were not paid regular hours and overtime wages

        at the rate of time and one half of their regular rate of pay for all overtime hours worked in

        excess of forty.

                                  COUNT I:
                WAGE AND HOUR FEDERAL STATUTORY VIOLATION;
                          FAILURE TO PAY OVERTIME

     20. Plaintiff NANCY ANDREUS re-adopts every factual allegation as stated in paragraphs 1-

        19 above as if set out in full herein.

     21. This cause of action is brought by Plaintiff NANCY ANDREUS as a collective action to

        recover from Defendant overtime compensation, liquidated damages, costs, and reasonable

        attorney’s fees under the provisions of the Fair Labor Standards Act, as amended, 29 U.S.C.

        § 201 et seq (the “FLA or the “ACT”), on behalf of Plaintiff and all other current and

        former employees similarly situated to Plaintiff (“the asserted class”) and who worked in

        excess of forty (40) hours during one or more weeks on or after January 2018, (the

        “material time”) without being compensated “at a rate not less than one and a half times

        the regular rate at which he is employed.”

     22. Defendant EL PARAISO MOTEL was and is engaged in interstate commerce as defined

        in §§ 3 (r) and 3(s) of the Act, 29 U.S.C. § 203(r) and 203(s)(1)(A). The Defendant provides

        lodging services to the general public and through its business activity, affects interstate

        commerce. The defendant had more than two employees recurrently engaged in commerce

        or in the production of goods for commerce by regularly and recurrently using the

        instrumentalities of interstate commerce to accept and solicit funds from non-Florida

        sources, by using electronic devices to authorize credit card transactions. Upon information

        and belief, the annual gross revenue of the Employer/Defendant was always in excess of



                                             Page 4 of 13
Case 1:19-cv-23993-RNS Document 1 Entered on FLSD Docket 09/26/2019 Page 5 of 13



        $500,000 per annum. By reason of the foregoing, Defendant’s business activities involve

        those to which the Fair Labor Standards Act applies. Therefore, there is FLSA enterprise

        coverage.

     23. Plaintiff and those similarly situated employees were employed by an enterprise engaged

        in interstate commerce. Plaintiff and those similarly-situated worked as housekeepers, and

        through their daily activities, Plaintiffs not only regularly, handled, or otherwise worked

        on goods and/or materials that had been produced for commerce and moved in interstate

        commerce at any time in the business, but Plaintiff’s activities were directed to the

        maintenance of the facilities providing services in interstate commerce. Therefore, there is

        FLSA individual coverage.

     24. Defendant EL PARAISO MOTEL employed Plaintiff NANCY ANDREUS as a non-

        exempt, hourly, full-time housekeeper from approximately January 01, 2018 to August 9,

        2019, or 83 weeks.

     25. Plaintiff’s wage rate was $9.00 an hour, and her overtime rate should be $13.50 an hour.

     26. During her time of employment with Defendant, Plaintiff and other similarly situated

        individuals maintained an irregular schedule, but she worked 5 days per week an average

        of 60 hours per week. Plaintiff was unable to take bonafide lunch breaks.

     27. Supervisor Dulce Perez provided Plaintiff and other similarly situated individuals’

        schedules showing a fictitious time to clock out. However, Plaintiff and other similarly

        situated employees were required to stay working more hours.



     28. Every week Plaintiff worked in excess of 40 hours, nevertheless in many weeks she was

        paid for 40 hours or less. Plaintiff was not paid for overtime hours.



                                           Page 5 of 13
Case 1:19-cv-23993-RNS Document 1 Entered on FLSD Docket 09/26/2019 Page 6 of 13



     29. Plaintiff and other similarly situated individuals were not allowed to clock in and out, and

        their timecards were punched in and out by Supervisor Dulce Perez or any other front desk

        employee. Plaintiff never had access to see the number of hours worked in a week period.

     30. Therefore, Defendant willfully failed to pay Plaintiff for overtime hours at the rate of time

        and one-half her regular rate for every hour that she worked in excess of forty (40), in

        violation of Section 7 (a) of the Fair Labor Standards Act of 1938 (29 U.S.C. 207(a)(1).

     31. Plaintiff was paid bi-weekly with paystubs that did not show the real number of hours

        worked.

     32. The records, if any, concerning the number of hours worked by the Plaintiff and those

        similarly situated, and the compensation actually paid to such employees should be in the

        possession and custody of the Defendant. However, upon information and belief,

        Defendant did not maintain time accurate records of hours worked by Plaintiff and other

        employees.

     33. Defendant violated the record-keeping requirements of FLSA, 29 CFR Part 516.

     34. Defendant never posted any notice, as required by the Fair Labor Standards Act and Federal

        Law, to inform employees of their federal rights to overtime and minimum wage payments.

     35. Defendant violated the Posting requirements of 29 U.S.C. § 516.4.

     36. Prior to the completion of discovery and to the best of Plaintiff’s knowledge, at the time of

        the filing of this complaint, the Plaintiff’s good faith estimate of unpaid overtime wages is

        as follows:

        * Please note that these amounts are based on a preliminary calculation and that these
        figures could be subject to modifications as discovery could dictate. After proper
        discovery, Plaintiff will adjust her statement of claim properly.

            a. Total amount of alleged unpaid O/T wages:



                                             Page 6 of 13
Case 1:19-cv-23993-RNS Document 1 Entered on FLSD Docket 09/26/2019 Page 7 of 13



                Twenty-Two Thousand Four Hundred Ten Dollars and 00/100 ($22,410.00)

            b. Calculation of such wages:
               Total period of employment: 83 weeks
               Relevant weeks of employment: 83 weeks
               Total hours worked: 60 hours weekly average
               Total overtime hours: 20 overtime hours
               Regular rate: $9.00 x 1.5= $13.50 O/T rate
               O/T rate: $13.50 an hour

                O/T rate $13.50 x 20 hours=$270.00 weekly x 83 weeks=$22,410.00

                Nature of wages (e.g. overtime or straight time):

                This amount represents unpaid overtime wages.

     37. At all times material hereto, the Employer/Defendant failed to comply with Title 29 U.S.C.

        §207 (a) (1). In that, Plaintiff and those similarly-situated performed services and worked

        in excess of the maximum hours provided by the Act but no provision was made by the

        Defendant to properly pay them at the rate of time and one half for all hours worked in

        excess of forty hours (40) per workweek as provided in said Act.

     38. Defendant knew and/or showed reckless disregard of the provisions of the Act concerning

        the payment of overtime wages as required by the Fair Labor Standards Act and remain

        owing Plaintiff and those similarly-situated these overtime wages since the commencement

        of Plaintiff’s and those similarly-situated employee’s employment with Defendant as set

        forth above, and Plaintiff and those similarly-situated are entitled to recover double

        damages.

     39. Defendant EL PARAISO MOTEL willfully and intentionally refused to pay Plaintiff

        overtime wages at the rate of time and one half her regular rate, as required by the law of

        the United States, and remains owing Plaintiff these overtime wages since the

        commencement of Plaintiff’s employment with Defendant as set forth above.



                                           Page 7 of 13
Case 1:19-cv-23993-RNS Document 1 Entered on FLSD Docket 09/26/2019 Page 8 of 13



     40. Plaintiff has retained the law offices of the undersigned attorney to represent her in this

         action and is obligated to pay a reasonable attorneys’ fee.

                                        PRAYER FOR RELIEF

  WHEREFORE, Plaintiff NANCY ANDREUS and those similarly situated respectfully requests

  that this Honorable Court:

         A. Enter judgment for Plaintiff NANCY ANDREUS and other similarly situated

             individuals and against the Defendant EL PARAISO MOTEL, based on Defendant’s

             willful violations of the Fair Labor Standards Act, 29 U.S.C. § 201 et seq.; and

         B. Award Plaintiff NANCY ANDREUS actual damages in the amount shown to be due

             for unpaid overtime compensation for hours worked in excess of forty weekly, with

             interest; and

         C. Award Plaintiff an equal amount in double damages/liquidated damages; and

         D. Award Plaintiff reasonable attorneys' fees and costs of suit; and

         E. Grant such other and further relief as this Court deems equitable and just and/or

             available pursuant to Federal Law.



                                           JURY DEMAND

  Plaintiff NANCY ANDREUS demands trial by a jury of all issues triable as of right by a jury.

                                     COUNT II:
              F.L.S.A. WAGE AND HOUR FEDERAL STATUTORY VIOLATION:
                           FAILURE TO PAY MINIMUM WAGE

     41. Plaintiff NANCY ANDREUS re-adopts every factual allegation as stated in paragraphs 1-

         19 of this complaint as if set out in full herein.




                                              Page 8 of 13
Case 1:19-cv-23993-RNS Document 1 Entered on FLSD Docket 09/26/2019 Page 9 of 13



     42. This action is brought by Plaintiff NANCY ANDREUS and those similarly-situated to

        recover from the Employer EL PARAISO MOTEL unpaid minimum wages, as well as an

        additional amount as liquidated damages, costs, and reasonable attorney’s fees under the

        provisions of 29 U.S.C. § 201 et seq., and specifically under the provisions of 29 U.S.C.

        §206.

     43. Defendant EL PARAISO MOTEL was and is engaged in interstate commerce as defined

        in §§ 3 (r) and 3(s) of the Act, 29 U.S.C. § 203(r) and 203(s)(1)(A). The Defendant provides

        lodging services to the general public and through its business activity, affects interstate

        commerce. The defendant had more than two employees recurrently engaged in commerce

        or in the production of goods for commerce by regularly and recurrently using the

        instrumentalities of interstate commerce to accept and solicit funds from non-Florida

        sources, by using electronic devices to authorize credit card transactions. Upon information

        and belief, the annual gross revenue of the Employer/Defendant was always in excess of

        $500,000 per annum. By reason of the foregoing, Defendant’s business activities involve

        those to which the Fair Labor Standards Act applies. Therefore, there is FLSA enterprise

        coverage.

     44. Plaintiff and those similarly situated were employed by an enterprise engaged in interstate

        commerce. Plaintiff and those similarly-situated worked as housekeepers, and through

        their daily activities, Plaintiffs not only regularly handled, or otherwise worked on goods

        and/or materials that had been moved in or produced for commerce, but Plaintiff’s

        activities were directed to the maintenance of the facilities providing services in interstate

        commerce. Therefore, there is FLSA individual coverage.




                                            Page 9 of 13
Case 1:19-cv-23993-RNS Document 1 Entered on FLSD Docket 09/26/2019 Page 10 of 13



     45. By reason of the foregoing, Defendant’s business activities involve those to which the Fair

        Labor Standards Act applies.

     46. 29 U.S.C. §206 (a) “Every employer shall pay to each of his employees who in any

        workweek is engaged in commerce or in the production of goods for commerce, or is

        employed in an enterprise engaged in commerce or in the production of goods for

        commerce, wages at the following rates:

         (1) except as otherwise provided in this section, not less than—

                (A) $5.85 an hour, beginning on the 60th day after May 25, 2008;

                (B) $6.55 an hour, beginning 12 months after that 60th day; and

                (C) $7.25 an hour, beginning 24 months after that 60th day

     47. Defendant EL PARAISO MOTEL employed Plaintiff NANCY ANDREUS as a non-

        exempt, hourly, full-time housekeeper from approximately January 01, 2018 to August 9,

        2019, or 83 weeks. Plaintiff’s wage rate was $9.00 an hour.

     48. During her time of employment with Defendant, Plaintiff worked an irregular schedule, 5

        days per week, more than 40 hours per week.

     49. Most of the time the Plaintiff worked the shift from 9:00 PM to 9:00 AM, (12 hours)

        regardless the shift worked and the scheduled working hours, Plaintiff always worked an

        average of 12 hours daily. Every week, Plaintiff completed a minimum of 60 hours weekly.

        Plaintiff was unable to take bonafide lunch breaks.

     50. Supervisor Dulce Perez provided Plaintiff and other similarly situated individuals’

        schedules showing a fictitious time to clock out. Plaintiff and other similarly situated

        employees were required to stay working more hours.




                                           Page 10 of 13
Case 1:19-cv-23993-RNS Document 1 Entered on FLSD Docket 09/26/2019 Page 11 of 13



     51. Plaintiff was not allowed to clock in and out and her timecard was punched in and out by

        Supervisor Dulce Perez or any other front desk employee.

     52. Every week Plaintiff worked in excess of 40 hours, nevertheless, in many weeks Defendant

        paid Plaintiff for less than 40 regular hours. There is a substantial number of hours that

        were not paid to Plaintiff at any rate, not even the minimum wage rate, as established by

        the Fair Labor Standards Act.

     53. The defendant was able to track the number of hours worked by Plaintiff and other similarly

        situated individuals.

     54. Therefore, Defendant willfully failed to pay Plaintiff minimum wages, in violation of the

        Fair Labor Standards Act of 1938 (29 U.S.C. §206 (a)).

     55. The records, if any, concerning the number of hours worked by Plaintiff and all others

        similarly situated employees, and the compensation actually paid to such employees should

        be in the possession and custody of Defendant. However, upon information and belief,

        Defendant did not maintain accurate and complete time records of hours worked by

        Plaintiff and other employees in the asserted class.

     56. Defendant violated the record-keeping requirements of FLSA, 29 CFR Part 516.

     57. Defendant never posted any notice, as required by the Fair Labor Standards Act and Federal

        Law, to inform employees of their federal rights to overtime and minimum wage payments.

     58. Defendant violated the Posting requirements of 29 U.S.C. § 516.4.

     59. Plaintiff is not in possession of time and payment records and without the benefit of

        discovery it is impossible for her to provide a good faith estimate about her unpaid regular

        hours.




                                           Page 11 of 13
Case 1:19-cv-23993-RNS Document 1 Entered on FLSD Docket 09/26/2019 Page 12 of 13



     60. Defendant EL PARAISO MOTEL knew and/or showed reckless disregard of the

         provisions of the Act concerning the payment of minimum wages as required by the Fair

         Labor Standards Act and remains owing Plaintiff and those similarly-situated these

         minimum wages since the commencement of Plaintiff and those similarly-situated

         employees’ employment with Defendant as set forth above, and Plaintiff and those

         similarly-situated are entitled to recover double damages.

     61. Defendant EL PARAISO MOTEL willfully and intentionally refused to pay Plaintiff

         minimum wages as required by the law of the United States and remains owing Plaintiff

         these minimum wages since the commencement of the Plaintiff’s employment with

         Defendant.

     62. Plaintiff has retained the law offices of the undersigned attorney to represent her in this

         action and is obligated to pay a reasonable attorneys’ fee.



                                        PRAYER FOR RELIEF

  WHEREFORE, Plaintiff NANCY ANDREUS and those similarly situated respectfully request

  that this Honorable Court:

        A. Enter judgment for Plaintiff NANCY ANDREUS and against the Defendant EL

            PARAISO MOTEL based on Defendant’s willful violations of the Fair Labor Standards

            Act, 29 U.S.C. § 201 et seq. and other Federal Regulations; and

        B. Award Plaintiff actual damages in the amount shown to be due for unpaid minimum

            wages, with interest; and

        C. Award Plaintiff an equal amount in double damages/liquidated damages; and

        D. Award Plaintiff reasonable attorney's fees and costs of suit; and



                                            Page 12 of 13
Case 1:19-cv-23993-RNS Document 1 Entered on FLSD Docket 09/26/2019 Page 13 of 13



         E. Grant such other and further relief as this Court deems equitable and just and/or

             available pursuant to Federal Law.

                                         JURY DEMAND

  Plaintiff NANCY ANDREUS and those similarly situated demand trial by a jury of all issues

  triable as of right by jury.

  Dated: September 26, 2019

                                                  Respectfully submitted,

                                                  By: _/s/ Zandro E. Palma____
                                                  ZANDRO E. PALMA, P.A.
                                                  Florida Bar No.: 0024031
                                                  9100 S. Dadeland Blvd.
                                                  Suite 1500
                                                  Miami, FL 33156
                                                  Telephone: (305) 446-1500
                                                  Facsimile: (305) 446-1502
                                                  zep@thepalmalawgroup.com
                                                  Attorney for Plaintiff




                                           Page 13 of 13
